                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                            EASTERN DIVISION (AKRON)


IN RE:
                                                             CASE NO.: 07-51884
AKRON THERMAL, LIMITED PARTNERSHIP

       Debtor and Debtor-in-Possession                       CHAPTER 11


                                                             ADV. PRO. NO.: 07-05131

AKRON THERMAL, LIMITED PARTNERSHIP
                                                             THE HONORABLE JUDGE
       Plaintiff                                             MARILYN SHEA-STONUM

Vs.

THE COMMUNITY HALL FOUNDATION, INC.
dba AKRON CIVIC THEATRE

       Defendant




       PRE-HEARING BRIEF ON AKRON CIVIC THEATRE’S MOTION FOR A
      TEMPORARY RESTRAINING ORDER AND A PRELIMINARY INJUNCTION


I.       STATEMENT OF ISSUES

         The Defendant, The Community Hall Foundation, Inc. doing business as Akron Civic

Theatre (hereinafter referred to as “Akron Civic”), respectfully requests in its Motion and Amended

Motion filed on August 29, 2007 an Order pursuant to Bankruptcy Rule 7065 granting Akron Civic a



                                         ~ Page 1 of 12 ~


07-05131-mss       Doc 34   FILED 08/29/07       ENTERED 08/29/07 11:57:29           Page 1 of 17
Temporary Restraining Order and Preliminary Injunction against the Plaintiff, Akron Thermal,

Limited Partnership (hereinafter referred to as “Akron Thermal”), and any person in active concert

or participation with it, requiring and enjoining Akron Thermal to reconnect and to maintain service

for steam and hot and/or chilled water service at 182 South Main Street, Akron, Ohio 44308

(hereinafter referred to as the “Premises”) and enjoining it from disconnecting service for steam and

hot and/or chilled water at the Premises during the pendancy of this Adversary Proceeding.


II.    JURISDICTION AND VENUE

       This adversary proceeding (Case No: 07-5131) arose from the case of In re Akron Thermal,

Limited Partnership (Case No. 07-51884) now pending in this Court under Chapter 11 of Title 11 of

the United States Code. This Court has jurisdiction of this adversary proceeding pursuant to 28

U.S.C. § 1334 and 11 U.S.C. § 105. This is a core proceeding under 28 U.S.C. § 157(b)(2)(I).

       Venue is proper in this Court pursuant to 28 U.S.C. § 1409 as this is a proceeding arising

under Title 11 in a case pending in this Court.


III.   STATEMENT OF THE CASE AND FACTS

       A.      The Community Hall Foundation, Inc. was incorporated in the State of Ohio on April

               20, 1965 and has done business as Akron Civic Theatre since its incorporation.

       B.      Upon information and belief, Akron Thermal has delivered steam and hot and/or

               chilled water service to the Premises since August 2005. In September 2001, Akron

               Civic transferred title of the Premises to the Summit County Port Authority to

               facilitate a loan to Akron Civic for major renovations to the Akron Civic Theatre.

       C.      Akron Thermal has delivered steam and hot and/or chilled water to the Premises

               since August 2005.



                                          ~ Page 2 of 12 ~


07-05131-mss      Doc 34     FILED 08/29/07       ENTERED 08/29/07 11:57:29            Page 2 of 17
      D.   Pursuant to the Ohio Public Utilities Commission’s Opinion and Order in Case No.

           05-05-HT-AIR dated September 28, 2005, the rules, regulations and rates governing

           the supply of steam and hot water services on or after September 28, 2005 is

           governed by the tariff known as P.U.C.O. No. 2 (hereinafter referred to as the

           “Tariff”).

      E.   To the best of the parties knowledge, there is no contract entered between Akron

           Civic and Akron Thermal. Further, Akron Civic has no contractual liability to Akron

           Thermal to pay for steam and hot and/or chilled water services supplied to the

           Premises.

      F.   According to the Tariff, a “customer” is defined as “the party(s) contracting for said

           service.” Additionally, paragraph 100.2 entitled “Parties to Contract” states “[a]ll

           contracts for service shall be between ATLP and the Owner of the premises served.

           A tenant of the Owner may cosign with the Owner as a guarantor of payment.”

           Akron Civic is not the owner of the Premises and never cosigned for or guaranteed

           payment to Akron Thermal.

      G.   Through an arrangement between the City of Akron and Akron Thermal in mid-to-

           late 2005, Akron Civic asserts that the parties agreed that steam invoices to Akron

           Civic would be credited toward amounts owed to the City of Akron by Akron

           Thermal.

      H.   Except for the payment tendered on August 27, 2007, Akron Civic has not tendered

           any payment to Akron Thermal for steam and hot and/or chilled water services at the

           Premises since August 2005.

      I.   Akron Thermal has taken no action to collect the amounts claimed owed for steam



                                      ~ Page 3 of 12 ~


07-05131-mss   Doc 34    FILED 08/29/07       ENTERED 08/29/07 11:57:29            Page 3 of 17
           and hot and/or chilled water services delivered to the Premises until it transmitted a

           collection letter to Akron Civic dated June 22, 2007.

      J.   On or about June 27, 2007, Akron Thermal filed a Motion for Turnover (hereinafter

           referred to as the “Turnover Motion”) against Akron Civic claiming the pre-Petition

           amount owed to Akron Thermal by Akron Civic was $181,414.23.

      K.   The Turnover Motion was converted into this Adversary Proceeding. Akron

           Thermal filed a Complaint against Akron Civic on or about July 3, 2007. Akron

           Thermal filed an Amended Complaint on or about July 20, 2007.

      L.   In its Amended Complaint, Akron Thermal contends that Akron Civic owes Akron

           Thermal the amount of $181,414.23 for a pre-Petition accounts receivable.

      M.   Akron Civic asserts that the pre-Petition amount of $181,414.23 has been satisfied as

           stated in its defenses set forth in its Answer and Amended Answer.

      N.   On or about August 23, 2007, Akron Civic received a “five-day notice” dated August

           22, 2007 from Akron Thermal. Said notice demanded that Akron Civic pay

           $188,580.06 by August 27 to avoid cancellation of steam and hot and/or chilled

           water services to the Premises.

      O.   On or about August 27, 2007, Akron Civic tendered payment to Akron Thermal in

           the amount of $7,165.83, which represents the total amount claimed in the five-day

           notice [$188,580.06 less the pre-Petition amount claimed owed in Akron Thermal’s

           Amended Complaint of $181,414.23 equals $7,165.83].

      P.   On or about August 28, 2007, Akron Thermal notified counsel for Akron Civic that it

           had rejected Akron Civic’s tender of $7,165.83. Further, Akron Thermal stated that

           it would return the check forthwith and proceed to cancel steam and hot and/or



                                      ~ Page 4 of 12 ~


07-05131-mss   Doc 34    FILED 08/29/07       ENTERED 08/29/07 11:57:29            Page 4 of 17
               chilled water services at the Premises.

        Q.     A calendar of scheduled events and activities to occur at Akron Civic Theatre is

               attached as Exhibit A.


IV.     LAW AND ARGUMENT

        A temporary restraining order “serves as an equitable policing matter to prevent the parties

from harming one another during the litigation; to keep the parties, while the suit goes on, as much

as possible in the respective positions they occupied when this suit began.” see Univ. of Texas v.

Camenisch, 451 U.S. 390 395 (1981); Nat’l Bd. of YMCA v. Flint YMCA, 764 F.2d 199, 201 (6th Cir.

1985); Hamilton Watch Co. v. Benrus Watch Co., 206 F.2d 738, 742 (2nd Cir. 1953).

        In the present case, Akron Civic needs injunctive relief to prevent Akron Thermal from

harming it further during the course of this litigation and to keep the parties, while this lawsuit goes

on, as much as possible in the respective positions they occupied before Akron Thermal served

Akron Civic with the five (5) day cancellation notice and turned off the steam and hot water service.

 Injunctive relief is appropriate because Akron Civic has tendered the post-petition balance owed in

the amount of $7,165.83. The pre-Petition balance in the amount of $181,414.23 is the subject

matter of the Adversary Proceeding which claimed amount is in dispute and Akron Civic asserts that

it has a valid defense.

        Rule 65 of the Federal Rules of Civil Procedure governs the implementation of a preliminary

injunction, which is made applicable to an adversary proceeding in Bankruptcy Rule 7065 of the

Federal Rules of Bankruptcy Procedure. Nat’l City Bank v. Hartman (In re Hartman), 345 B.R. 826,

828 (N.D. Ohio 2005). Under Bankruptcy Rule 7065, this Court must consider and balance the

following four elements in deciding whether to issue a Temporary Restraining Order and

Preliminary Injunction in favor of Akron Civic and against Akron Thermal:


                                           ~ Page 5 of 12 ~


07-05131-mss      Doc 34      FILED 08/29/07       ENTERED 08/29/07 11:57:29             Page 5 of 17
       1. Whether Akron Civic has a substantial likelihood or probability of success on the merits;

       2. Whether Akron Civic will suffer irreparable injury if relief is not granted;

       3. Whether the Preliminary Injunction would unjustifiably harm third parties; and

       4. Whether the public interest would be served by issuing the Preliminary Injunction.

Gonzales v. Nat’l Bd. of Med. Examiners, 225 F.3d 620, 625 (6th Cir. 2000); see In re Elec. Theatre

Rests. Corp., 53 B.R. 458, 461 (N.D. Ohio 1985).

       The four elements outlined above do not serve as a litmus test for awarding injunctive relief;

rather the elements should be balanced by the Court in order to determine whether injunctive relief is

justified. These four elements “do not establish a rigid and comprehensive test for determining the

appropriateness for preliminary injunctive relief”; rather, they are “factors to be balanced, not

prerequisites that must be met.” Friendship Materials, Inc. v. Michigan Brick, Inc., 679 F.2d 100,

102 (6th Cir. 1982). As demonstrated through the Affidavit of Brian Cummins and through

testimony to be presented at the hearing on this Motion, a balancing of these four factors entitles

Akron Civic to injunctive relief.

       The Akron Civic will meet its burden by showing that it is clearly entitled to the relief sought

in its Motion and Amended Motion.        See, Cincinnati Bengals v. Bergey 453 F. Supp. 129 at 145

(“ . . . In order to be entitled to such relief plaintiff had the burden of establishing a clear case of

irreparable injury and of convincing the Court that the balance of injury favored the granting of the

injunction) citing Set-O-Type Co. v. American Multigraph Co., 55 F.2d 800 (6th Cir., 1932).

(Probability of success on the trial must also be shown) H. E. Fletcher Co. v. Rock of Ages Corp.,

326 F.2d 13 (2d Cir., 1963). Akron Civic’s burden of proof is a lesser burden than at a trial on the

merits.1


1 See Wilcox v. United States, 888 F.2d 1111, 1114 (6th Cir.1989): “The purpose


                                           ~ Page 6 of 12 ~


07-05131-mss      Doc 34      FILED 08/29/07       ENTERED 08/29/07 11:57:29             Page 6 of 17
       A.      AKRON CIVIC WILL LIKELY SUCCEED ON THE MERITS.

       The facts presently available to Akron Civic indicate that there is a substantial likelihood that

Akron Civic will prevail in this action. Akron Civic asserts that it has two valid defenses: (i) to the

extent it has any liability to Akron Thermal for payment of steam and hot and/or chilled water

service to the Premises, Akron Civic has satisfied all or a substantial portion of the pre-Petition

obligation; and (ii) as between Akron Thermal and Akron Civic, Akron Civic has no contractual

liability to Akron Thermal to pay for steam and hot and/or chilled water services to the Premises

according to the Tariff, which also affords the owner of the Premises with a complete defense.

               1.      The pre-Petition debt was satisfied.

       Akron Civic asserts that it will present documents and testimony to support its argument and

the City of Akron’s position that Akron Thermal received credit for steam and hot and/or chilled

water delivered to the Premises against amounts due and owing by Akron Thermal to the City of

Akron. Specifically, Akron Civic will present financial records prepared by Akron Thermal dated

June 16, 2006, November 28, 2006 and May 4, 2007 evidencing that Akron Thermal received a

credit for amounts claimed owed by Akron Civic applied against amounts owed to the City of

Akron.2 While Akron Thermal presumptively will maintain that the credit was never received, their


of a preliminary injunction is merely to preserve the relative positions of the parties until a trial
on the merits can be held.” University of Texas v. Camenisch, 451 U.S. 390, 395, 101 S.Ct.
1830, 1834, 68 L.Ed.2d 175 (1981). “Given this limited purpose, and given the haste that is
often necessary if those positions are to be preserved, a preliminary injunction is customarily
granted on the basis of procedures that are less formal and evidence that is less complete than in
a trial on the merits.” Id., at 395, 101 S.Ct. at 1834. “A party thus is not required to prove his
case in full at a preliminary-injunction hearing ..., and the findings of fact and conclusions*1114
of law made by a court granting a preliminary injunction are not binding at trial on the merits....”
Id., at 395, 101 S.Ct. at 1834; accord In re DeLorean Motor Co., 755 F.2d 1223, 1230 (6th
Cir.1985).”

2 Akron Civic asserts that these documents were prepared prior to any settlement negotiations
and are admissible under the Federal Rules of Evidence. See, ABM Industries, Inc. v. Zurich
American Ins. Co., N.D.Cal.2006, 237 F.R.D. 225 (By its terms, the rule governing admission of
settlement evidence does not require exclusion of any evidence otherwise discoverable simply


                                           ~ Page 7 of 12 ~


07-05131-mss        Doc 34    FILED 08/29/07       ENTERED 08/29/07 11:57:29             Page 7 of 17
own inaction is the most telling evidence. Akron Thermal has displayed post-Petition how easy it

would have been to collect the debt from late 2005 to 2007. Akron Thermal had the right and ability

to turn off steam and hot and/or chilled water services to the Premises but only did so after the

Bankruptcy Case was filed. If Akron Thermal does not agree to credit the bill, then it would have

had an easy collection lever to threaten, to turn off and to demand payment. Its own inaction is the

best evidence of its intent.

        The documents prepared by Akron Thermal will support this theory as does the testimony of

the City of Akron employees. The evidence will demonstrate that the pre-Petition balance of

$181,414.23 has been satisfied. Further, on August 27, 2007, Akron Civic tendered the post-Petition

amount due of $7,165.83 (Check No. 6523) by hand delivering this check to Janet Stott. A copy of

the hand-delivered letter to Richard Pucak, Check No. 6523 in the amount of $7,165.83 and the

signature card of Janet Stott evidencing receipt of said Check are attached as Exhibits B and C and

incorporated herein.

                2.      Akron Civic has no contractual liability to Akron Thermal.

        Akron Thermal and Akron Civic did not enter into a written contract for steam and hot

and/or chilled water services to be delivered to the Premises. The Tariff requires that all contracts be



because it is presented in the course of compromise negotiations.); Commonwealth Aluminum
Corp. v. Stanley Metal Ass'n, W.D.Ky.2001, 186 F.Supp.2d 770 (Correspondence between
aluminum company and supplier was admissible for purposes of satisfying the statute of frauds
in breach of contract action brought by company arising out of supplier's alleged failure to
comply with oral contracts, and was not precluded under evidence rule precluding the
introduction of evidence relating to attempts to compromise a claim which is disputed as to
either validity or amount, where the correspondence appeared to admit to the validity of the
alleged contracts and did not dispute the total amount alleged due.) Megarry Bros., Inc. v. U. S.
for Use of Midwestern Elec. Const., Inc., C.A.8 (N.D.) 1968, 404 F.2d 479. (Unaccepted offers
of compromise are not admissible in evidence as admissions, but admissions with respect to
independent facts which are made during course of compromise negotiations may be received in
evidence.)


                                           ~ Page 8 of 12 ~


07-05131-mss         Doc 34    FILED 08/29/07      ENTERED 08/29/07 11:57:29             Page 8 of 17
entered between the owner of the Premises and Akron Thermal and the tenant may guaranty

payment. Akron Civic did not guaranty payment.

       Akron Civic is likely to succeed on the merits in the Adversary Proceeding based the

defenses set forth above including the satisfaction of the pre-Petition balance through credits taken

by Akron Thermal and by payment of the post-Petition obligation.


       B.      AKRON CIVIC WILL BE IRREPARABLY HARMED IF THE REQUEST FOR INJUNCTIVE
               RELIEF IS NOT GRANTED.

       If Akron Thermal is not required to maintain steam and chilled water service to the Premises,

Akron Civic will be irreparably harmed. See Exhibit A for the calendar of events scheduled for

Akron Civic during the upcoming year. In order to induce patrons to attend the Akron Civic and to

comply with local health and safety regulations, steam and chilled water will need to be present in

order to open the doors and serve the public. There is no question that Akron Civic will be

irreparably harmed as will the public in general if Akron Thermal is not ordered to maintain steam

and chilled water service at the Premises. Akron Thermal’s turn off will irreparably harm Akron

Civic if Akron is not ordered to reconnect service and Akron Thermal enjoined from disconnecting

Akron Civic’s hot and/or chilled water service at the Premises. Akron Civic will not be able to

continue business operations without steam and/or chilled water service at the Premises.



       C.      NO THIRD PARTIES WILL BE HARMED BY ISSUANCE OF THE ORDER.

       While the issuance of the Order contemplated by Akron Civic enjoining Akron Thermal from

disconnecting service to the Akron Civic will not harm third parties. There is an extreme contrary

result if the Order is not granted. Akron Civic will be unable to continue to operate without steam

and chilled water service. Steam is essential in order to enable Akron Civic to create hot water. Hot



                                          ~ Page 9 of 12 ~


07-05131-mss      Doc 34     FILED 08/29/07       ENTERED 08/29/07 11:57:29            Page 9 of 17
 water is necessary in order to comply with local health ordinances. If service is not maintained for

 steam and chilled water, during extreme hot and cold temperatures, Akron Civic patrons would be

 unable to attend programs scheduled to be presented at the Akron Civic. Even the threat of

 terminating the steam or chilled water service may effect the Akron Civic’s ability to book potential

 renters and sell tickets to events at the Akron Civic. If the Akron Civic is unable to operate, and

 Akron Thermal prevails in the adversary proceeding, it would have no ability to generate income to

 pay the account receivable claimed due. Therefore, numerous parties including patrons, potential

 renters, performers, the Akron Civic and Akron Thermal and the citizens of the City of Akron and its

 surrounding communities, would be harmed if the Court does not issue the Orders requested by the

 Akron Civic.


          D.     THE PUBLIC INTEREST WILL BE SERVED BY ISSUANCE                 OF A    TEMPORARY
                 RESTRAINING ORDER AND A PRELIMINARY INJUNCTION.

          The Akron Civic Theatre known also as “The Jewel on Main Street” was built in 1929 and

 has been used as an entertainment facility for over seventy-five (75) years. There is substantial

 public interest favoring this Court issuing a restraining order and preliminary injunction to enable

 the Civic Theatre to continue to operate for the benefit of the citizens of Akron and the surrounding

 communities. A summarized history of the Akron Civic is attached as Exhibit D. A portion of this

 history briefly explaining the impact the Akron Civic Theatre has on the community is set forth

 below:


                 The success of the Akron Civic Theatre is a testament, particularly
                 during these difficult economic times, to the support of our
                 community and the vision of its leaders. Support for the Civic has
                 come to be understood for what it is - an investment in our
                 community that fuels the economy and drives downtown
                 revitalization by hosting the best in local, national, international
                 entertainment and events. Behind a restoration and expansion of this


                                           ~ Page 10 of 12 ~


07-05131-mss       Doc 34    FILED 08/29/07       ENTERED 08/29/07 11:57:29             Page 10 of 17
                magnitude stands a litany of organizations and individuals who have
                worked diligently in the belief that this project would make the
                community a better place to live, work and play. This help came
                locally, regionally and nationally.


        Public policy favors the continuous operation of the Akron Civic Theater and an order

 maintaining the service of steam and/or hot water service to Akron Civic while the parties litigate

 the merits of Akron Thermal’s Amended Complaint filed in this proceeding. Without steam and hot

 and chilled water service, Akron Civic will be forced to close and the Akron Civic Theater, the

 citizens of Akron, the citizens of Summit County and its surrounding communities, local businesses

 (including restaurants, bars, media outlets, printers, etc.) renters of the Akron Civic, schools (from

 pre-school through college) performers, and the volunteers, employees, officers and Board of

 Trustees of the Akron Civic Theater, will be irreparably harmed.

        WHEREFORE, Akron Civic requests the following relief:

        A.      A Temporary Restraining Order affording the Defendant, the Community Hall
                Foundation, Inc., dba the Akron Civic Theatre, relief from immediate and irreparable
                injury, loss or damage from the Plaintiff, Akron Thermal Limited Partnership by
                requiring Plaintiff Akron Thermal Limited Partnership to turn on the steam and hot
                and chilled water service at 182 S. Main Street, Akron, Ohio 44308 and to continue
                service at this location during the pendency of this adversary proceeding.

        B.      A Preliminary Injunction affording the Defendant, the Community Hall Foundation,
                Inc., dba the Akron Civic Theatre, relief from immediate and irreparable injury, loss
                or damage from the Plaintiff, Akron Thermal Limited Partnership by requiring
                Plaintiff Akron Thermal Limited Partnership to turn on the steam and hot and chilled
                water service at 182 S. Main Street, Akron, Ohio 44308 and to continue service at
                this location during the pendency of this adversary proceeding.

        C.      That this Court order as security for payment that no bond be required but instead
                that Akron Civic, or any other entity liable, pay all valid monthly post-Petition
                invoices when due for steam and hot and/or chilled water service delivered to the
                Premises.

                                                       Respectfully submitted:

                                                       BERNLOHR WERTZ, L.L.P.


                                           ~ Page 11 of 12 ~


07-05131-mss      Doc 34      FILED 08/29/07       ENTERED 08/29/07 11:57:29            Page 11 of 17
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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the above was transmitted via e-mail, facsimile and regular

 mail on this 29th day of August, 2007, upon the following

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                                         ~ Page 12 of 12 ~


07-05131-mss     Doc 34     FILED 08/29/07       ENTERED 08/29/07 11:57:29          Page 12 of 17
07-05131-mss   Doc 34   FILED 08/29/07   ENTERED 08/29/07 11:57:29   Page 13 of 17
07-05131-mss   Doc 34   FILED 08/29/07   ENTERED 08/29/07 11:57:29   Page 14 of 17
07-05131-mss   Doc 34   FILED 08/29/07   ENTERED 08/29/07 11:57:29   Page 15 of 17
07-05131-mss   Doc 34   FILED 08/29/07   ENTERED 08/29/07 11:57:29   Page 16 of 17
07-05131-mss   Doc 34   FILED 08/29/07   ENTERED 08/29/07 11:57:29   Page 17 of 17
